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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 UNITED STATES OF AMERICA                              CASE NO. 3:19-CR-00070-01

 VERSUS                                                JUDGE TERRY A. DOUGHTY

 DERRICK CURRY (01)                                    MAGISTRATE JUDGE HAYES

                                   MEMORANDUM ORDER

        Pending here is Defendant Derrick Curry’s pro se Motion for Court’s Non-Binding

 Recommendation to the Bureau of Prisons that Defendant be Given a Retroactive Designation of

 the State Facility-Ouachita Correctional Center-as the Place of Imprisonment for His Federal

 Sentence [Doc. No. 118]. On December 14, 2021, the Court denied Defendant’s Motion to

 Correct and/or Amend Sentence in which Defendant requested his sentence be corrected or

 amended to provide that it is to run concurrently with the 537 days which he allegedly spent in

 custody prior to his sentencing by this Court on March 4, 2020 [Doc. No. 115]. In denying his

 motion, the Court stated that the Bureau of Prisons (“BOP”) had correctly calculated Defendant’s

 sentence as the Court intended [Id.].

        In the pending motion, Defendant requests that the Court issue a “non-binding

 recommendation” to the BOP that Defendant be given a “retroactive designation” to allow him to

 be given credit for the same 537 days that was the subject of the prior motion.

        As the Court indicated in the earlier ruling, the BOP has correctly calculated Defendant’s

 sentence as the Court intended. Therefore, to the extent Defendant is requesting the Court to

 reconsider its prior ruling, his Motion is DENIED. Additionally, to the extent Defendant is

 requesting that the Court issue a recommendation that he be given a “retroactive designation,”

 Defendant’s motion is DENIED. The Court finds no reason to exercise its discretion to grant a
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 motion that could result in Defendant’s sentence being corrected, amended, or reduced.

 Accordingly,

        IT IS ORDERED that Defendant’s Motion for Court’s Non-Binding Recommendation

 to the Bureau of Prisons that Defendant be Given a Retroactive Designation of the State Facility-

 Ouachita Correctional Center-as the Place of Imprisonment for His Federal Sentence [Doc. No.

 118] is DENIED.

        MONROE, LOUISIANA, this 26th day of January 2022.




                                                                 Terry A. Doughty
                                                            United States District Judge
